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PROPOSED ATTORNEYS FOR DEBTOR

                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

IN RE:                                           §
                                                 §
ELECTROTEK CORPORATION,                          §            CASE NO. 21-30409-MVL
                                                 §            CHAPTER 11
       Debtor.                                   §

                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on March 25, 2021, a true and correct copy of the

Notice of Chapter 11 Bankruptcy Case [Docket No. 13] was served via United States first class

mail, postage prepaid, upon the parties on the attached service list.

       Dated: March 27, 2021.
                                                      Respectfully Submitted,

                                                        /s/ Joyce W. Lindauer
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